
PER CURIAM:
*920After a jury trial in the Circuit Court of Henry County, Appellant Laura Strotkamp was found guilty of endangering the welfare of a child in the first degree, in violation of § 568.045, RSMo. The charges stemmed from Strotkamp's failure to obtain medical care for her fourteen-year-old son, for injuries he suffered as a result of abuse by his stepfather. Strotkamp appeals, arguing that the State presented insufficient evidence at trial that she knowingly created a substantial risk to her son's life, body or health. We affirm. Because a published opinion would have no precedential value, we have provided the parties an unpublished memorandum setting forth the reasons for this order. Rule 30.25(b).
